Case 2:19-cv-08726-TJH-PLA Document 32 Filed 11/09/20 Page 1 of 10 Page ID #:284




 1   Luis A. Tipacti
     1 4900 Ventura Blvd.,
 2   Suite 200                                                                   u..s. ~~STvICT
                                                                                                  GOURT
     Sherman Oaks, California 9l 403
 3
     In Pro-Se
                                                                              ►~~V — 9 ~
 4

 5                                     UNITED STATES DISTRICT CCU
                                   CENTRAL DISTRICT OF CALIFORNIA
 6
                                            WESTERN DIVISION

 8
     INNOVATIVE SPORTS                                   Case No. 2:19-cv-08726-TJH-(PLAx)
 9   MANAGEMENT, INC., d/b/a/
     INTEGRATED SPORTS MEDIA
10
                   Plaintiffs,                          NOTICE OF MOTION AND MOTION TO
11          vs.
                                                              STRIKE DEFENDANT, LUIS
                                                        ALEJANDRO TIPACTI FROM CASE No.
12                                                                    2:19-cv-08726
     CLAUDIA A. PORTOCARRERO, et al.,
                                                         With Declaration in Support Thereof
13
                   Defendants.
14

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16
            Please take notice that LUIS ALEJANDRO TIPACTI, (The Defendant), will move the
1~
     above-entitled Court for and Order granting Defendant's Motion to Strike plaintiff from Case No.
is
19   2:19-cv-08726-TJH-PLA. Date: (COVID-19) at the discretion of the Court; Time: (COVID-19) at

20   the discretion of the Court. A copy of the motion and declaration is attached hereto. The motion
21
     will be heard at The United States District Court-Central District of California 350 West 1st Street,
22
     Los Angeles, California 90012.
23
      Dated; November 4, 2020                                       Respectfully Submitted
24

25

26                                                                  Luis Alejandro Tipacti
27

28
                                                     1
                                         NOTICE OF MOTION TO STRIKE
Case 2:19-cv-08726-TJH-PLA Document 32 Filed 11/09/20 Page 2 of 10 Page ID #:285




 1     Luis A. Tipacti
       14900 Ventura Blvd.,
 2     Suite 200
       Sherman Oaks, California 91403
 3
       In Pro-Se
 4

 5                                      UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 6
                                             WESTERN DIVISION

 8
       INNOVATIVE SPORTS                                     Case No. 2:19-cv-08726-TJH-(PLAx)
 9     MANAGEMENT,INC., d/b/a/
       INTEGRATED SPORTS MEDIA
10
                    Plaintiffs,                             MOTION TO STRIKE DEFENDANT,
1~            vs.
                                                            LUIS ALEJANDRO TIPACTI FROM
                                                                  CASE No. 2:19-cv-08726
12 i                                                         With Declaration in Support Thereof
       CLAUDIA A. PORTOCARRERO,et al.,
13
                    Defendants.
14

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16
              NOW COMES the defendant, LUIS ALEJANDRO TIPACTI, and for a cause of action
i~
       hereby stated the following.
18

19         1. Defendant Sublease the property located at 15030 Ventura Blvd., Store #24 in the County of

20            Los Angeles, City of Sherman Oaks, California 91403 to Claudia A. Portocarrero, (A
21
              Businessperson).
22
          2. The term of our lease agreement was for five years commencing on February 5th,2018.
23
          3. The Sublease Agreement clearly spells out the terms including the full responsibility of the
24

25
              Subletter, Claudia A. Portocarrero. See Exhibit "A".

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                                                      1
                                               MOTION TO STRIKE
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 1         4. The contract that the Defendant, Claudia A. Portocarrero enter was entered and signed by

 2            her and Innovative Sports Management, Inc., d/b/a/Integrated Sports Media. And all
 3
              payment arrangement was with her and said Business.
 q
           5. At no time did defendant, Luis Alejandro Tipacti sign any kind of agreement with
 5
              Innovative Sports Management d/b/a/ Integrated Sports Media for any purpose at said
 6

              business location.

 8         6. Therefore, defendant, Luis Alejandro Tipacti was not responsible for any private and/or
 9
              business transaction between Claudia A. Portocarrero and said Business and in that I, Luis
to
              Alejandro Tipacti requests this court to Strike Luis Alejandro Tipacti from Case Number: 2-
11
               19-cv-08726-TJH-(PLAx).
12

13

14        Dated; November 4, 2020                                   Respectfully Submitted
15

16
                                                                    Luis Alejandro Tipacti
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                                               MOTION TO STRIKE
Case 2:19-cv-08726-TJH-PLA Document 32 Filed 11/09/20 Page 4 of 10 Page ID #:287




 i                                 DECLARATION IN SUPPORT THEREOF

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 3
         I,LUIS ALEJANDRO TIPACTI(Declarant) do hereby declare:
 4
      1. That I was named in Filed Complaint under Case No.: 2:l9-cv-08726-1'JH-(P~,Ax)
 5
      2. That, I am not a party to any kind of agreement between Defendant, Claudia A. Portocarrero
 6

         and Innovative Sports Management, Inc., d/b/a/Integrated Sports Media entered and sign them

 8       and the two only.

         I declare under penalty of perjury, under the Laws of the State of California that the foregoing
10       paragraph is true and correct.

11           Dated: November 04,2020
                                                                        Luis Alejandro Tipacti
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                                                     3
                                      DECLARATION IN SUPPORT THEREOF
Case 2:19-cv-08726-TJH-PLA Document 32 Filed 11/09/20 Page 5 of 10 Page ID #:288




                              EXHIBIT
                                «A~~
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                                                SUBLEASE AGREEMENT


                                                 SUBLEASE AGREEMENT

THIS SUBLEASE AGREEMENT is entered into on FEBRUARY 5th 20~ by and between LUIS TIPACTI
                                 ("SUBLESSOR"}, with an address of 14900 VENTURA BLVD SUITE 200 SHERMAN
OAKS CA 91403 and CLAUOIA A PORTOCARRERO ••••••••»•»•.-...»                               ,("SUBTENANT"),
currently located at iso3o venm~w► sew sroReoza sHew~nnr~ onics cn 9~ao3(the °Parties').

   FOR VALUABLE CONSIDERATION, the Parties agree to the following terms and conditions.

    1. Premises. Sublessor hereby subleases to Sublessee and Sublessee hereby subleases from Sublessor for the
term specified below, and upon ail of the conditions set forth herein, that certain real property, including all improvements
thereon, commonly known by the street address Of ISO'~0 VENTIIRA BLVD ST~RF#24                      . located in the County of
 LOS ANGELES . State of California, and generally described as 15030 VENTURA BLW STORE#24
SHERMAN OAKS CA 91403 (the "Premises").

    2. Ted. The term of this Sublease shalt be for 5 YEARS                     commencing on FEBRUARY 9lh       , 2018
and ending on FEBRUARY 9th         , 2023, unless sooner teRninated pursuant to any provision hereof. Sublessor agrees
to use its best commercially reasonable efforts to deliver possession of the Premises by the commencement' date. If,
despite said efforts, Sublessor is unable to deliver possession as agreed, the rights and obligations of Sublessor and
Sublessee shall be as set forth in the Master Lease and in Paragraph 7 of this Sublease.

     3. Base Rent. Sublessee shall pay to Sublessor as Base Rent for the Premises equal monthly payments of
$ 6.074.00 in advance, on the arse     day of each month of the term hereof. Sublessee shall pay Sublessor upon the
execution hereof $ 4.050.00    as Base Rent for the period 02109!2018       through 02/28/2018       Base Rent which
is less than one month For any period during the term hereof shall be calculated at a pro rata portion of the monthly
installment.

     4. Rent Defined. All monetary obligations of Sublessee to Sublessor under the terms of this Sublease (except for
the Security Deposit) are deemed to be rent ("Rent"). Rent shall be payable in lawful money of the United States to
Sublessor at the address stated herein or to such other persons or at such other places as Sublessor may designate in
writing.

   5. Security Deposit. Sublessee shall deposit with Sublessor upon execution hereof $12.000.00 as security for
Sublessee's faithful perfoRnance of Sublessee's obligations hereunder. The rights and obligations of Sublessor and
Sublessee as to said Security Deposit shall be as set foRh in the Master Lease (as modified by Paragraph 7 of this
Sublease).

   6. Use.

       (a) Agreed Use. The Premises shall be used and occupied only for ••••"".."..".".............
             PERUVfAN RESTAURANT                                  and for no other purpose.

      (b) Com lance. Sublessor warrants that the improvements on the Premises comply with all applicable covenants or
restrictions of record and applicable building codes, regulations and ordinances in effect on the commencement date.
Said warranty does not apply to the use to which Sublessee will put the Premises or to any alterations or utility
installations made or to be made by Sublessee. NOTE: Sublessee is responsible for determining whether or not the
zoning is appropriate for its intended use, and acknowledges that past uses of the Premises may no longer be allowed.
If the Premises do not comply with said v~rarranty, or in the event that the applicable requirements are hereafter changed,
the rights and obligations of Sublessor and Sublessee shall be as provided in the Master Lease (as modified in
Paragraph 7 of this Sublease).

     (c) Acceptance of Premises and Lessee. Sublessee acknowledges that (i) it has been advised to satisfy itself with
respect to the condition of the Premises Including but not limited to the electrical, HVAC and fire sprinkler systems,
security, environmental aspects, and compliance with all applicable requirements) and their suitability for Sublessee's
intended use; (i) Sublessee has made such investigation as it deems necessary with reference to such matters and
assumes all responsibility therefor as the same relate to its occupancy of the Premises; and (ii) neither Sublessor,
Sublessors agents, nor any broker has made any oral or written representations or warranties with respect to said
matters other than as set forth in this Sublease. In addition, Sublessor acknowledges that it is Sublessors sole


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                                                  SUBLEASE AGREEMENT

responsibility to investigate the financial capability and/or suitability of all proposed tenants.

    7. pilaster Lease.

     (a) Sublessor is the lessee of the Premises by virtue of a lease, (the 'Master Lease"), a copy of which is
                                                                                                                attached
hereto, wherein     SIMHA PARTNERSHIP,LTD                                     is the lessor,('Master Lessor).

     (b)This Sublease is and shall at all times be subject and suboniinate to the Master Lease.

     (c) The teRns, conditions and respective obligations of Sublessor and Sublessee to each other under this
                                                                                                               Sublease
shall be the terms and conditions of the Master Lease except for those provisions of the Master Lease
                                                                                                       which are directly
contradicted by this Sublease in which event the terms of this Sublease shat( control over the Master Lease.
                                                                                                              Therefore,
for the purposes of this Sublease, wherever in the Master Lease the word "Lessor' is used it shall be
                                                                                                       deemed to mean
the Sublessor herein and wherever in the Master Lease the word "Lessee" is used it shall be deemed to
                                                                                                              mean the
Sublessee herein.

     (d) During the term of this Sublease and for all periods subsequent for obligations which have arisen prior to the
 termination of this Sublease, Sublessee does hereby expressly assume and agree to perform and comply with, for the
 benefit of Sublessor and Master Lessor, each and every obligation of Sublessor under the Master
                                                                                                           Lease (the
"Sublessee's Assumed Obligations"). The obligations that Sublessee has not assumed under this Paragraph 7
                                                                                                                    are
hereinafter refert~ed to as the 'Sublessors Remaining Obligations".

    (e) Sublessee shall hold Sublessor free and haRnless from all liability, judgments, costs, damages, claims or
demands, including reasonable attorneys' fees, arising out of Sublessee's failure to comply with or perform Sublessee's
Assumed Obligations.

     (f) Sublessor agrees to maintain the Master Lease during the entire term of this Sublease, subject however, to any
earlier teRnination of the Master Lease without the fault of the Sublessor, and to comply with or perform Sublessors
Remaining Obligations and to hold Sublessee free and harmless from all liability, judgments, costs, damages, claims or
demands arising out of Sublessors failure to comply with or perform Sublessors Remaining Obligations.

     (g) Sublessor represents to Sublessee that the Master Lease is in full forme and effect and that no default e~asts on
the part of any party to the Master Lease.

    8. Assignment of Sublease and Default.

     (a) Sublessor hereby assigns and transfers to Master Lessor the Sublessors interest in this Sublease, subject to
the provisions of this Paragraph 8.

    (b) Master Lessor, by executing this document, agrees that until a default occurs in the performance of Sublessors
Obligations under the Master Lease, that Sublessor may receive, collect and enjoy the Rent accruing under this
Sublease. However, if Sublessor defaults in the performance of its obligations to Master Lessor, then Master Lessor
may, at its option, receive and cdlect, directly from Sublessee, all Rent owing and to be owed under this Sublease.
Master Lessor shall not, by reason of this assignment of the Sublease nor by reason of the collection of the Rent from
Sublessee, be deemed liable to Sublessee for any failure of Sublessor to perform and comply with Sublessors
Remaining Obligations.

      (c) Sublessor hereby irrevocably authorizes and directs Sublessee upon receipt of any written notice from the
Master Lessor stating that a default e~asts in the perfoRnance of Sublessors obligations under the Master Lease, to pay
to Master Lessor the Rent due and to become due under the Sublease. Sublessor agrees that Sublessee shall have the
right to rely upon any such statement and request from Master Lessor, and that Sublessee shall pay such Rent to Master
Lessor without any obligation or right to inquire as to whether such default e~asts and notwithstanding any notice from or
claim from Sublessor to the contrary and Sublessor shall have no right a claim against Sublessee for any such Rent so
paid by Sublessee.

     (d) No changes or modifications shall be made to this Sublease without the consent of Master Lessor.

   9. Consent of Master Lessor.


                                                              Page 2
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                                                SUBLEASE AGREEMENT

    (a)In the event that the Master Lease requires that Sublessor obtain the consent of Master lessor to any subletting
by Sublessor, then this Sublease shall not be effective unless, within ten (10) days of the date hereof, Master Lessor
signs this Sublease thereby giving its consent to this subletting.

     (b)In the event that the obligations of the Sublessor under the Master Lease have been guaranteed by thirci Parties,
then neither this Sublease nog the Master Lessors consent shall be effective unless, within ten (10) days of the date
hereof, said guarantors sign this Sublease thereby giving their consent to this Sublease.

    (c)In the event that Master Lessor does give such consent then:

       (i) Such consent shall not release Sublessor of its obligations or alter the primary liability of Sublessor to pay the
Rent and perfoRn and comply with all of the obligations of Sublessor to be performed under the Master Lease.

       (ii) The acceptance of Rent by Master Lessor from Sublessee or anyone else liable under the Master Lease shall
not be deemed a waiver by Master Lessor of any provisions of the Master Lease.

       (iii) The consent to this Sublease shall not constitute a consent to any subsequent subletting or assignment.

      (iv) In the event of any default of Sublessor under the Master Lease, Master Lessor may proceed directly against
Sublessor, any guarantors or anyone else liable under the Master Lease or this Sublease without first exhausting Master
Lessors remedies against any other person or entity liable thereon to Master Lessor.

       (v) Master Lessor may consent to subsequent sublettings and assignments of the Master Lease or this Sublease
or any amendments or modifications thereto without notifying Sublessor or anyone else liable under the Master Lease
and without obtaining their consent and such action shall not relieve such persons from liability.

       (vi) In the event that Sublessor should default in its obligations under the Master Lease, then Master lessor, at
its option and without being obligated to do so, may require Sublessee to attom to Master Lessor in which event Master
Lessor shall undertake the obligations of Sublessor under this Sublease from the time of the exercise of said option to
termination of this Sublease but Master Lessor shall not be liable for any prepaid Rent nor any Security Deposit paid by
Sublessee, nor shall Master Lessor be liable for any other defaults of the Sublessor under the Sublease.

     (d) The signatures of the Master Lessor and any Guarantors of Sublessor at the end of this document shall
constitute their consent to the teams of this Sublease.

     (e) Master Lessor acknowledges that, to the best of Master Lessors knowledge, no default presently e~asts under
the Master Lease of obligations to be performed by Sublessor and that the Master Lease is in full force and effect.

    (~ In the event that Sublessor defaults under its obligations to be pertoRned under the Master Lease by Sublessor,
Master Lessor agrees to deliver to Sublessee a copy of any such notice of default. Sublessee shall have the right to
cure any default of Sublessor described in any notice within ten (10)days after such service of such notice of default on
Sublessee. If such default is cured by Sublessee, then Sublessee shall have the right of reimbursement and offset from
and against Sublessor.

12. Attorneys Fees      If any party or the Broker named herein brings an action to enforce the terms hereof or to
    declare rights hereunder, the prevailing party in any such action, on teal and appeal, shall be entitled to his
    reasonable attorneys fees to be paid by the losing party as fixed by the Court.

13. Additional Provisions.
  Insurance: Subtenant hereby agrees to mantain a policy of personal injury and property damage, public health
  Insurance in an amount not less than $1,000,000.00. Subtenant is required to provide the Sublessor an insurance
  certificate per the requirements of the sublease upon execution of the sublease.




                                                            Page 3
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             PROOF OF SERVICE BY UNITED STATES MAIL
                            (Code of Civil Procedure Section 1015)
                                 (28 U.S.C. Section 1746)

     I, CHARLES JORDAN, depose and say, the following statement is true and correct
     under the penalty of perjury according to the laws of the State of California based on
     matters known to me personally to be true:

        1) I am over the age of eighteen years and not a party to the Case No.: 2:19-cv-
           08726-TJH-(PLAx). Case is located at: U.S. District Court-Central District of
           California-Western Division, 255 East Temple Street, Los Angeles, California
           90012; and I am a resident of the State of California with a present address of:

        14900 Ventura Blvd., Suite 200
        Sherman Oaks, California 91403

        2) By Mail: On this November O5, 2020, I caused a true and correct copy of the
           following document by placing it thereof enclosed in a sealed envelope with the
           postage thereon fully prepaid by depositing them in the United States Post Office in
           Castaic, California.

     Documents Served on Defendant:

        1.    Notice of Motion and Motion to Strike Defendant Luis Alejandro Tipacti
              From Case No. 2:19-cv-08726-TJH-PLAx. Declaration in Support; Exhibit "A".

       3)     Declaration of Charles Jordan:
              I, Charles Jordan, do hereby declare that I served the above Document on the
             following attorney for defendant:

          1. Thomas P. Riley
             Law Offices of Thomas P. Riley
             First Library Square
             1 114 Fremont Avenue
             South Pasadena, CA 91030

     DECLARATION OF CHARLES JORDAN

     I, Charles Jordan, declare under the penalty of perjury under the laws of the United
     States of California that the foregoing is true and correct.
     Executed on November O5,2020 at Castaic, California.

                                                                 ~~~~~
                                                                     \~-
                                                                  Charles Jordan
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                                                                                                  MY. Lll1S l~.          Tl'17,aCt1                                                                                 ~                                                     U.S. PpSTAG
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                                                                                                  14900 Ventura Blvd.,                           -                                                                                                     Ii
Case 2:19-cv-08726-TJH-PLA Document 32 Filed 11/09/20 Page 10 of 10 Page ID #:293




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                                                                                                                                                                              United States District .Court_
                                                                                                                                                                             :Central District of California
                                                                                                                                                                              255 East Temple Street
                                                                                                                                                                             Los; Angeles, CA 90012
                                                                                    '~"4
